         Case 1:15-cr-03762-JCH Document 140 Filed 07/27/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                            CRIMINAL NO.: 1:15-CR-03762-JCH

NAEL ALI,

               Defendant.



               UNITED STATES’ UNOPPOSED MOTION FOR ENTRY OF
                           ORDER OF FORFEITURE

       The United States respectfully moves this Court, pursuant to 21 U.S.C. § 853(a) and Fed.

R. Crim. P. 32.2(b)(1) and (2), for entry of an order of forfeiture against Defendant Nael Ali in

the amount of $3,840.38, which represents net proceeds the Defendant obtained, directly or

indirectly, as the result of violations of the Indian Arts and Craft Acts. Pursuant to Fed.R.Crim.P.

32.2(b)(4)(A), the order of forfeiture becomes final as to the Defendant at sentencing. The

grounds for this motion are as follows:

       1.      Defendant pleaded guilty to Count two of the Information (Doc. 99). The

Information charged that Nael Ali violated the Indian Arts and Crafts Act in violations of 18

U.S.C. § 1159 (Doc. 102, ¶ 3). Defendant Nael Ali agreed to imposition of a forfeiture money

judgment against him for $3,840.38, which represents a portion of the net profit derived from the

Defendant as the result of the violations of the Indian Arts and Crafts Act as charged in

Information.

       2.      The Court’s authority to order forfeiture of property for offenses in violation of

the Controlled Substances Act is found in 21 U.S.C. § 853(a), which provides for the criminal

forfeiture of forfeiture of any property, constituting, or derived from, any proceeds the person
         Case 1:15-cr-03762-JCH Document 140 Filed 07/27/18 Page 2 of 2



obtained, directly or indirectly, as the result of such violation and any of the person’s property

used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of,

such violation.

       3.         The Defendant has dissipated the $3,840.38 in proceeds he obtained. Therefore,

the United States requests that the Court permit the United States to seek, as a substitute asset

pursuant to 21 U.S.C. § 853(p), forfeiture of any other property of the Defendant up to the value

of $3,840.38.

       4.         The United States further requests that the Court include the forfeiture when

orally announcing the sentence and include the forfeiture order in the judgment as required by

Fed. R. Crim. P. 32.2(b)(4)(B).

       5.         Counsel for the defendant does not oppose this motion.

       WHEREFORE, the United States respectfully requests this Court enter an Order of

Forfeiture against Defendant for $3,840.38, which represents the proceeds Defendant obtained as

the result of his violation[s] of the Controlled Substances Act, pursuant to 21 U.S.C. §

853(a)(1)(C) and Rules 32.2(b)(1) and (2) of the Federal Rules of Criminal Procedure.


                                                       Respectfully submitted,

                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       Electronically filed July 27, 2018
                                                       STEPHEN R. KOTZ
                                                       Assistant U.S. Attorney
                                                       P. O. Box 607
                                                       Albuquerque, New Mexico 87103
                                                       (505) 346-7274

I HEREBY CERTIFY that I filed the foregoing electronically through the CM/ECF system,
which caused counsel of record to be served by electronic means, as more fully reflected on the
Notice of Electronic Filing.
       /s/
STEPHEN R. KOTZ
Assistant U.S. Attorney

                                                   2
